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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
                                  NEWARK DIVISION

 In Re:                                           Case No. 19-21618-SLM

 Marilyn S. Trolice                               Chapter 13

 Debtor.                                          Judge Stacey L. Meisel

  REQUEST FOR SERVICE OF NOTICES PURSUANT TO FED.R.BANKR.P. 2002(g)

        Please take notice that D. Anthony Sottile, as authorized agent for Home Point Financial
Corporation, a creditor in the above-captioned case, requests, pursuant to Rules 2002 and 9007
of the Federal Rules of Bankruptcy Procedure and §§102(1), 342 and 1109(b) of title 11 of the
United States Code, and 11 U.S.C. §§ 101, et seq., that all notices given or required to be given
and all papers served or required to be served in this case also be given to and served, whether
electronically or others on:
          D. Anthony Sottile
          Authorized Agent for Home Point Financial Corporation
          394 Wards Corner Road, Suite 180
          Loveland, OH 45140
          Phone: 513.444.4100
          Email: bankruptcy@sottileandbarile.com


 Dated: June 14, 2019                             /s/ D. Anthony Sottile
                                                  D. Anthony Sottile
                                                  Authorized Agent for Creditor
                                                  Sottile & Barile, LLC
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
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                                 CERTIFICATE OF SERVICE

I certify that on June 14, 2019, a copy of the foregoing Request for Service of Notices was filed
electronically. Notice of this filing will be sent to the following party/parties through the Court’s
ECF System. Party/Parties may access this filing through the Court’s system:

       Nicholas Fitzgerald, Debtor’s Counsel
       nichfitz.law@gmail.com

       Marie-Ann Greenberg, Chapter 13 Trustee
       magecf@magtrustee.com

       Office of the United States Trustee
       ustpregion03.ne.ecf@usdoj.gov

I further certify that on June 14, 2019, a copy of the foregoing Request for Service of Notices
was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the following:

       Marilyn S. Trolice, Debtor
       1025 Avenue C. Apt 215, Unit A-23
       Bayonne, NJ 07002

                                                    /s/ D. Anthony Sottile
                                                    D. Anthony Sottile
                                                    Authorized Agent for Creditor
                                                    Sottile & Barile, LLC
                                                    394 Wards Corner Road, Suite 180
                                                    Loveland, OH 45140
                                                    Phone: 513.444.4100
                                                    Email: bankruptcy@sottileandbarile.com
